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AO 2458 (Rev. E}ZHE) Judgi‘ncnt in a Crirninil] Case
Sht:et 1

UNiTED STATES DISTRICT COURT

[)istrict of Co|umbia

 

UNlTED STATES OF AMERICA § JUDGMENT lN A CRIMINAL CASE
v. )
BR|ANA BARNES § Case Nutti'oei': ‘17-cr-063-(02) (KBJ)

) USM Niimber; 31359-007
)
] Car|os J. \/anegas
] 'i)ai-miim-t;stins§'_FILEV'

THE DEFENDANT:

iztpieadea guiiiy m column _3_¢__f_ih_e_ indictment men on 3130/17. _ _ _ _ _ N[]V 0 ? 2018 __

i:l pleaded nolo contendere to count(s) __ _ _ __ ___ __ _ __ ch|'k» U-S- Di$v'i_Cij&i_§al'lk_fqp_to_

which was accepted by the court emil 15 iU| nlE DiSTTiCTUT Colllmbia

|:I was found guilty on count(s}
after a plea of not guilty.

 

The defendant is adjudicated guilty ot`these oifenses;

'I`itle & Seetion Nature ol` Offense (}ffense Ended Count
48 DCC §§ 904.01(a)(1) Uniawfu| Possession With lritent to Distribute a Contro||ed 12I31!2016 3
and (a){Z)(B) Substarice [Lesser |nctuded Offense]
The defendant is sentenced its provided in pages 2 throttin _ 7 ofthisjudginent. The sentence is imposed pursuant to

the Sentcncing Reform Aet of 1984.

[i The defendant has been found not guilty on couiit(s}

 

E] Count(s) 4 __ Ei is |:i are dismissed on the motion ofthe Utiited States.

_ 1 It is ordered that the defendant must notify the Un_ited States attorney for this district within 30 da s of_any change ofnatne. residence
or mailing address unti|_all fines, restitution._eosts, and special assessments imposed by thtsjudgment are fu y paid. lfordered to pay restitutioii,
the defendant must notify the court and Untted Sttitcs attorney of material changes in economic circumstances

11,-‘6!2018

lJiite o'i""lr'nposition ol`Judgrnent

 

    

Signati.irc n

Keta_nji B. Jac_k§o_r_i_. U.S, District J__ud_g_e
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_____ ii i,_]_i_S__ __ _ _

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AO 2453 (Rev. 02/18) judgment in Criminal Case
‘ Sheet 2 - lmprisonment

Judgment- Piigc :2__ of
DEFENDANTI BRIANA BARNES
CASE NUMBER! 17-Cl'-063~(02] (KBJ)

IMPRISONMENT

The defendant is hereby committed to the custody of` the Federal Bureau of Prisons to be imprisoned for a total
term of:

Six (6) months, with credit for time served since 2/23/2018 through 3/15/2018, then again from 5/23/2018 to present.

l:| The court makes the following recommendations to the Bureau of` Prisons:

|:l The defendant is remanded to the custody of the United States Marshal.

Cl The defendant shall surrender to the United States Marshal for this district:

l:l at C] a.m. |:l p.m. 'on

 

l:l as notified by the United States Marshal.

l:l ’I`he defendant shall surrender for service of` sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

l:l as notified by the United States Marshal.

l___l as notified by the Probation or Pretrial Services Of`ficc.

 

 

 

RETURN
l have executed'this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
uNrrED STATES MARSHAL
By

 

DEPUTY UN|TED STATES MARSHAL

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AO 2458 (Rev. 02/18) ludgment in a Criminal Ci\se
Shcet 3 - Supervised Relcasc

 

Judgment_|’age _______3 of _____7
DEFENDANTZ BR|ANA BARNES
cAse NUMBER: 17-cr-osa-(02) ti<eJ)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
Twenty-four (24) months

MANDATORY CONDITIONS

|_ You must not commit another federal. state or local crime.
You must not unlawfully possess a controlled substance

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
[:| The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (cli¢ck rfapplicable)

gore

4, [:| You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (clreck l_'fappllcable)

lYl You must cooperate in the collection of DNA as directed by the probation officer. (check i/appttcabte)
l:]

.G~.v-

You must comply with the requirements of the Sex Of`f`ender Registration and Notification Act (34 U.S.C. § 2090|, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense (check yappli'cable)

7_ I:l You must participate in an approved program for domestic violence. (check ifappm:nble)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

______- t

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AO 2458 (Rev. 02/| 8) Judgment in a Criminn| Case
Sheet JA - Supervised Rcleuse

__________________________-
.ludgment-Page z of l

DEFENDAN'I`: BR|ANA BARNES
CASE NUMBER: 17-cr-063-(02) (KBJ)

STANDARD CONDITIONS OF SUPERVISION

Ast part of your supervised release, you must comply with the following standard conditions of supervision These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the conn about, and bring about improvements in your conduct and condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. b Aficr initially reporting to the probation office, you will receive instructions from thc court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you arc authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least lO days before thc change. lf notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

' hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain vicw.

7. You must work full time (ot least 30 hours per wcck) at a lawful type of employment, unless the probation officer excuses you from
doing so. lf you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances you must notify the probation officer within 72 hours of`
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

91 lf you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours. '

lO. You must not own, possess, or have access to a firearm, ammunition destructive devicc, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

l l. you must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. lf the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk. 1

l3. You must follow the instructions of the probation officer related to the conditions of supervision

s»z>

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overvi'ew of Probalion and Supervi`sed
Release Condi'ri'ons, available at: www.uscourts.gov.

Defendant's Signature Date

 

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AO 245B(Rev. 02/18) .|udgment m a Criminal Case
Slteet 3D- Supervised Release

_ ludgment-Page 5 of 7
DEFENDANT: BR|ANA BARNES
CASE NUMBER: 17-cr-063-(02) (KBJ)

SPECIAL CONDITIONS OF SUPERVlSION

Substance Abuse Treatment -You must participate in an inpatient and/or outpatient substance abuse treatment program
and follow the rules and regulations of that program. The probation officer will supervise your participation in the program
(provider, |ocation. modality. duration. intensity, etc.).

Synthetic Drugs - You must not knowingly purchase, possess, distribute. administer, or othen~ise use any psychoactive
substances (e.g.. synthetic marijuanal bath salts. etc.) that impair a person's physical or mental functioningl whether or not
intended for human consumptionl except with the prior approval of the probation officer.

Substance Abuse Testing - You must submit to substance abuse testing to determine if you have used a prohibited
substance. You must not attempt to obstruct or tamper with the testing methods.

Educationa| Services Program- -¥ou must participate in an educational services program and follow the rules and
regulations of that program. Such programs may include high school equivalency preparation Eng|ish as a Second
Language classes, and other classes designed to improve your proficiency in skills such as reading, writing, mathematics,
or computer use.

Vocationa| Services Program- You must participate in a vocational services program and follow the rules and regulations
of that program. Such a program may include job readiness training and skills development training.

~' l Case 1:17-cr-00063-KB.] Document 43 Filed 11/07/18 Page€0f7

AO 2453 (Rev. 02/l8) Judgment in a Crimina| Case
Sheet 5 - Crir_ninal Mortetury Petialties

 

 

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DEFENDANT: BR|ANA BARNES
CASE NUMBER: 17-Cr-063-(02) (KBJ)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* l~`ine Restitution
TOTALS $ 100.00 $ $ $
l:l The determination of restitution is deferred until . An Amended Judgmem in a Criminal Case (Ao 245€) will be entered
after such detennination.

Cl The defendant must make restitution (including community restitution) to the following payees in the amount listed bc|ow.

lf the defendant makes a partial payment, each payee shall receive an approximately})rogortioned ayment, unless specified otherwise in
the priority or_der or percentage payment column elow. However, pursuant to 18 .S. . § 3664(1\, , all nonfederal victims must be paid
before the United States is paid.

Name of Payee 'l`otal Loss** Restitution Ordered Priorigy or Percentage
TO'I`ALS $ 0.00 5 0.00

 

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than 52,500, unless the restitution or fine is paid in full before the
fifteenth day after the date_of the judgment, pursuant to l8 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to l8 U.S.C. § 3612(g).

D The court determined that the defendant does not have the ability to pay interest and it is ordered that:
l:| the interest requirement is waived for the L__l fine l] restitution.

[l the interest requirement for the |:] fine |Il restitution is modified as follows:

* Justice for Victims of Traffickin Act of 2015, Pub. L. No. l 14-22.
** Findings for the total amount o losses are required under Chapters lO9A, l 10, l lOA, and l 13A of Title l8 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

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AO 2458 (Rev. 02/| 8) Jiidgment in a Criminal Case

Sheet 6 - Schedule of Pa£ncnts

 

_7 _

 

Judgment - Page of 7
DEFENDANT: BR|ANA BARNES
CASE NUMBER: 17-cr-063-(02) (KBJ)
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A m Lump sum payment of S 100-00 due immediately, balance due
|:| not later than , , or
g in accordance with |:| C, |:] D, [:| E, or §Z] F below; or
B l:] Payment to begin immediately (may be combined with l:] C, l:l D, or |:] F bc|ow); or
C |:l Payment in equal (e.g., weekly, monihly, quarrerly) installments of $ over a period of
(e.g.. months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D C] Payment iii equal (e.g.. weekly, monrhty. quarrerly) installments of $ _ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [:| Payment during the term of supervised release will commence within (e.g., 30 ar 60 days) after release from

imprisonment The court will set the payment plan based on an assessment of the defendant‘s ability to pay at that time; or

Specia| instructions regarding the payment of criminal monetary penalties:

The special assessment is payable to the Budget & Finance Office of DC Courts. 16 H Street NW, Suite 600l
Washington. DC 20001, for deposit into the Crime Victims Compensation Fund. 4 DCC § 516 (Victims of Violent '
Crime Compensation Emergency Amendment Act of 1996). Within 5 days of any change of address, you shall
notify the Clerk of the Court of the change until such time as the financial obligation is paid in ful|.

l .
Unless _the court has expressly ordered otherwise, if this judgment imposes imprisonment, pa ent of criminal monetary penalties is due during
th_e period of imprisonment. All criminal monetary penalties, except those payments ma e through thc Federal Bureau of Frisons’ lnmate
Financial Responsibility Program, arc made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

|:l Joint and Several

Defendant and Co-Dcfendant Names_ and Case Numbers (including defendant number), Total Amount, .loint and Several Amount,
and corresponding payee, if appropriate.

l:l The defendant shall pay the cost of prosecution

l:l The defendant shall pay the following court cost(s):

|:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) pcnalties, and (9) costs, including cost of prosecution and cou_rt costs.

